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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                EASTERN DIVISION

SHANICKA WEBBER, on behalf of herself            )
and all others similarly situated,               )
                                                 )
               Plaintiff,                        )
                                                 )    No. 18-cv-03331
       v.                                        )
                                                 )   Hon. Charles Norgle
DIVERSIFIED ADJUSTMENT SERVICE,                  )
INC.,                                            )
                                                 )
               Defendant.                        )

   DEFENDANT DIVERSIFIED ADJUSTMENT SERVICE, INC.’S MOTION FOR
SANCTIONS PURSUANT TO THE COURT’S INHERENT AUTHORITY, FED. R. CIV.
                      P. 11, AND 28 U.S.C. § 1927

        Defendant Diversified Adjustment Service, Inc. (“Diversified”), by and through its

undersigned attorneys, Bassford Remele, PA, now brings this Motion for Sanctions pursuant to

the Court’s inherent authority, Federal Rule of Civil Procedure 11, and 27 U.S.C. § 1927. In

support of its Motion, Diversified states the following:

                                RELEVANT BACKGROUND1

       On May 9, 2018, Plaintiff filed her complaint, wherein she alleged that Diversified failed

to comply with the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”)

claiming Diversified reported information about her unpaid Sprint account to the credit bureaus

prior to sending her the initial collection notice, which in turn informed Plaintiff of the

possibility that such credit reporting might occur. [Doc. No. 1 at ¶¶ 11-33, 40-41.]




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  The background concerning Plaintiff’s alleged substantive claims is discussed in greater depth
in Diversified’s Motion for Judgment on the Pleadings, which Diversified incorporates herein by
reference. [Doc. No. 9.]

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       On June 5, 2018, the undersigned wrote to Plaintiff’s counsel explaining that Diversified

has never reported any information to any credit bureau concerning Plaintiff’s Sprint account.

Moreover, the undersigned further pointed out that, in any event, the exhibits attached to

Plaintiff’s complaint alone demonstrate that Plaintiff has no basis to allege Diversified engaged

in any such reporting. [Declaration of Patrick D. Newman ¶ 2, Ex. A.] Plaintiff’s counsel failed

to respond. [Id. at ¶ 3.] Nor did Plaintiff’s counsel dismiss Plaintiff’s baseless claims.

       As a result, on June 6, 2018, Diversified moved for judgment on the pleadings pursuant

to Federal Rule of Civil Procedure 12(c). Diversified now requests that the Court award it its

reasonable attorneys’ fees and costs in having to defend this matter despite Plaintiff’s and

Plaintiff’s counsel’s knowledge that Plaintiff’s claims lack factual support.

                                          ARGUMENT

       Plaintiff’s counsel knew that Plaintiff’s attempted claims lack factual support before they

filed her complaint. Plaintiff’s counsel created the complaint and in turn attached the “credit

reporting” exhibit. Plaintiff’s counsel, per Rule 11, surely read the complaint and exhibits before

filing them. Additionally, Plaintiff’s counsel were on notice, at the latest, on June 5, 2018, that

Plaintiff’s claims lacked factual support.     Because Plaintiff’s counsel failed to voluntarily

withdraw and dismiss Plaintiff’s complaint notwithstanding this knowledge, sanctions became

warranted.

       The “district judge has … a wide range of sanctions that he or she may impose.”

Insurance Benefit Administrators, Inc. v. Martin, 871 F.2d 1354, 1359 (7th Cir. 1989). This

includes the inherent authority to issue sanctions. See Chambers v. NASCO, Inc., 501 U.S. 32

(1991); see also Tucker v. Williams, 682 F.3d 654, 661-62 (7th Cir. 2012); Flextronics Int’l,

USA, Inc. v. Sparkling Drink Sys. Innovation Center Ltd., 230 F.Supp.3d 896, 906-07 (N.D. Ill.



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2017).

         Moreover, the Civil Rules require, among other things, that an attorney signing any

pleading in a civil action certify that “the factual contentions have evidentiary support ….” Fed.

R. Civ. P. 11(b)(3). If a court determines a party or their attorney has violated Rule 11(b), “the

court may impose an appropriate sanction,” including, but not limited to, “payment to the

movant of part or all of the reasonable attorney’s fees and other expenses directly resulting from

the violation ….” Id. at subdiv. (c)(1), (4).

         In addition, pursuant to 28 U.S.C. § 1927, “any attorney … who so multiplies the

proceedings in any case unreasonably and vexatiously may be required by the court to satisfy

personally … attorneys’ fees reasonably incurred because of such conduct.” Id. “If a lawyer

pursues a path that a reasonably careful attorney would have known, after appropriate inquiry, to

be unsound, the conduct is objectively unreasonable and vexatious.” Riddle & Assocs., P.C. v.

Kelly, 414 F.3d 832, 835 (7th Cir. 2005) (internal quotation marks omitted and citing Kapco Mfg.

Co. v. C & O Enters., Inc., 886 F.2d 1485, 1491 (7th Cir. 1989)).

         A reasonably careful attorney would have read the credit report attached to Plaintiff’s

complaint and saw that it did not provide any factual support for the allegation that “Diversified”

reported any information to any credit bureau regarding Plaintiff’s Sprint account. [See Def.’s

Memo. Supp. Mot. Judg. Plead., Doc. No. 9, at 4-5.] This is particularly true here given that the

undersigned notified Plaintiff’s counsel—in writing—on June 5, 2018, that Diversified has never

reported any information to any credit bureau concerning Plaintiff’s Sprint account. [Newman

Dec., ¶ 2, Ex. A.]

         Any attorney, and most assuredly a reasonably careful attorney, would have investigated

Plaintiff’s credit reports further or, at the very least, responded to the undersigned’s



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correspondence documenting the error in the complaint. But Plaintiff’s counsel did neither, and

instead persisted in asserting Plaintiff’s unsupported—and unsupportable—claims in the face of

unequivocal evidence (which Plaintiff herself provided as exhibits to her complaint) that they are

baseless. [Newman Dec., ¶ 3.]

       Rule 11 requires more from Plaintiff’s counsel, as does 19 U.S.C. § 1927; their disregard

for this Rule and statute warrants sanctions in the form of Diversified’s attorneys’ fees and costs

incurred in responding to the complaint and bringing its motion for judgment on the pleadings.

                                        CONCLUSION

       By refusing to voluntarily withdraw the complaint, Plaintiff’s counsel has forced

Diversified to expend time and resources to respond to Plaintiff’s baseless claims. Accordingly,

Diversified asks the Court to award Diversified its reasonable attorneys’ fees and costs incurred

in responding to Plaintiff’s complaint and bringing its Motion for Judgment on the Pleadings,

pursuant to the Court’s inherent authority, Rule 11, and 28 U.S.C. § 1927.


                                                     Respectfully Submitted,

                                                     By: /s/ Patrick D. Newman
                                                     One of Defendant’s Attorneys

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